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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

LEAGUE OF WOMEN VOTERS EDUCATION
FUND, et al.,

           Plaintiffs,
                                                          Civil Action No. 25-0955 (CKK)
      v.
DONALD J. TRUMP, in his official capacity as
President of the United States, et al.,
           Defendants.


                             [PROPOSED] ANSWER
                   BY THE REPUBLICAN NATIONAL COMMITTEE
                    TO THE LEAGUE PLAINTIFFS’ COMPLAINT

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                              The Republican National Committee
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       Proposed    Intervenor—the      Republican     National    Committee—answers      Plaintiffs’

complaint. Unless expressly admitted below, every allegation in the complaint is denied.

Accordingly, the Republican National Committee states:


                                        INTRODUCTION

       1.      Intervenor admits that the President issued the Executive Order on March 25, 2025.

The Executive Order speaks for itself. The remaining allegations in this paragraph are denied.

       2.      The allegations in this paragraph are legal conclusions to which no response is

required.

       3.      The allegations in this paragraph are legal conclusions to which no response is

required.

       4.      The Executive Order speaks for itself. The remaining allegations in this paragraph

are legal conclusions to which no response is required.

       5.      The Executive Order speaks for itself. The remaining allegations in this paragraph

are legal conclusions to which no response is required.

       6.      Intervenor admits that Plaintiffs are challenging the Executive Order’s

documentary proof-of-citizenship requirement but denies the allegations in the rest of the

paragraph.

       7.      Deny.

       8.      Deny.

       9.      Deny.

       10.     Intervenor denies that Plaintiffs are entitled to the requested relief.


                                             PARTIES




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       11.        Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       12.        Intervenor lacks sufficient information to admit or deny the allegations made in

this paragraph.

       13.        Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       14.        Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       15.        Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       16.        Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       17.        Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       18.        Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       19.        Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       20.        Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       21.        Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.




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       22.     Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       23.     Admit.

       24.     The cited statutes speak for themselves. The remaining allegations in this paragraph

are legal conclusions to which no response is required.

       25.     Admit.

       26.     Admit.

       27.     Admit.

       28.     Admit.

       29.     Admit.

                                JURISDICTION AND VENUE

       30.     Intervenor admits that Plaintiffs have filed their action under the cited provisions

of federal law but denies that Plaintiffs have any valid claim under these laws.

       31.     Intervenor lacks sufficient information to admit or deny the allegations in this

paragraph.

       32.     The cited statutes speak for themselves. The remaining allegations in this paragraph

are legal conclusions to which no response is required.

       33.     The cited statute speaks for itself. The remaining allegations in this paragraph are

legal conclusions to which no response is required.

                                  FACTUAL ALLEGATIONS

       34.     Admit.

       35.     The cited constitutional provision speaks for itself. The remaining allegations in

this paragraph are legal conclusions to which no response is required.




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       36.     The allegations in this paragraph are legal conclusions to which no response is

required.

       37.     The cited statute speaks for itself. The remaining allegations in this paragraph are

legal conclusions to which no response is required.

       38.     The cited statutes speak for themselves. The remaining allegations in this paragraph

are legal conclusions to which no response is required.

       39.     The cited statute speaks for itself. The remaining allegations in this paragraph are

legal conclusions to which no response is required.

       40.     The cited statutes speak for themselves. The remaining allegations in this paragraph

are legal conclusions to which no response is required.

       41.     The cited statutes speak for themselves. Intervenor otherwise lacks sufficient

information to admit or deny the allegations in this paragraph.

       42.     The cited statutes speak for themselves. The remaining allegations in this paragraph

are legal conclusions to which no response is required.

       43.     The cited statutes and authority speak for themselves. The remaining allegations in

this paragraph are legal conclusions to which no response is required.

       44.     The cited statute speaks for itself. The remaining allegations in this paragraph are

legal conclusions to which no response is required.

       45.     The cited regulations speak for themselves. The remaining allegations in this

paragraph are legal conclusions to which no response is required.

       46.     The cited statutes speak for themselves. Intervenor otherwise lacks sufficient

information to admit or deny the allegations in this paragraph.




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       47.        The cited statutes speak for themselves. Intervenor otherwise lacks sufficient

information to admit or deny the allegations in this paragraph.

       48.        The cited authority speaks for itself. Intervenor otherwise denies the allegations in

this paragraph.

       49.        The cited authority and portion of the Congressional Record speak for themselves.

The remaining allegations in this paragraph are legal conclusions to which no response is required.

       50.        The cited statute and quotation from the Federal Register speak for themselves. The

remaining allegations in this paragraph are legal conclusions to which no response is required.

       51.        The cited authority and agency decisions speak for themselves. Intervenor denies

that the EAC has “correctly implemented the guidance of the NVRA” previously.

       52.        The allegations in this paragraph are legal conclusions to which no response is

required.

       53.        The cited Executive Order speaks for itself. Intervenor denies that the Executive

Order “directly conflict[s] with the rules enacted by Congress.”

       54.        The cited Executive Order speaks for itself. The remaining allegations in this

paragraph are legal conclusions to which no response is required.

       55.        The cited Executive Order speaks for itself. The remaining allegations in this

paragraph are legal conclusions to which no response is required.

       56.        The cited Executive Order speaks for itself. The remaining allegations in this

paragraph are legal conclusions to which no response is required.

       57.        The cited Executive Order speaks for itself. The remaining allegations in this

paragraph are legal conclusions to which no response is required.

       58.        Deny.




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       59.     The cited Executive Order speaks for itself. The remaining allegations in this

paragraph are legal conclusions to which no response is required.

       60.     The cited Executive Order speaks for itself. The remaining allegations in this

paragraph are legal conclusions to which no response is required.

       61.     The cited Executive Order speaks for itself. The remaining allegations in this

paragraph are legal conclusions to which no response is required.

       62.     Intervenor denies that the Executive Order burdens voters. Intervenor otherwise

lacks sufficient information to admit or deny the allegations made in this paragraph.

       63.     The cited Executive Order speaks for itself.

       64.     The cited Executive Order speaks for itself. Intervenor otherwise lacks sufficient

information to admit or deny the allegations made in this paragraph.

       65.     The cited Executive Order speaks for itself. Intervenor otherwise lacks sufficient

information to admit or deny the allegations made in this paragraph.

       66.     The cited Executive Order speaks for itself. Intervenor otherwise lacks sufficient

information to admit or deny the allegations made in this paragraph.

       67.     The cited Executive Order speaks for itself. Intervenor otherwise lacks sufficient

information to admit or deny the allegations made in this paragraph.

       68.     The cited Executive Order speaks for itself. Intervenor otherwise lacks sufficient

information to admit or deny the allegations made in this paragraph.

       69.     Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       70.     Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.




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       71.    Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       72.    Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       73.    Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       74.    Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       75.    Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       76.    Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       77.    Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       78.    Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       79.    Deny.

       80.    Deny.

       81.    The allegations in the first sentence of this paragraph are denied. Intervenor

otherwise lacks sufficient information to admit or deny the allegations made in the rest of this

paragraph.

       82.    Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.




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       83.     Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       84.     Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       85.     Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       86.     Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       87.     Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       88.     Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       89.     Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       90.     Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       91.     Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       92.     Deny.

       93.     Deny.

       94.     The cited authority and statute speak for themselves. Intervenor otherwise lacks

sufficient information to admit or deny the allegations made in this paragraph.




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       95.     The cited authority and statute speak for themselves. Intervenor otherwise lacks

sufficient information to admit or deny the allegations made in this paragraph.

       96.     The cited authorities and statute speak for themselves. The remaining allegations

in this paragraph are legal conclusions to which no response is required.

       97.     The cited authorities and statute speak for themselves. The remaining allegations

in this paragraph are legal conclusions to which no response is required.

       98.     The allegations in this paragraph are legal conclusions to which no response is

required.

       99.     Intervenor denies the first sentence of the paragraph. Intervenor otherwise lacks

sufficient information to admit or deny the allegations made in this paragraph.

       100.    Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       101.    Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       102.    Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       103.    Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       104.    Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

       105.    Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.




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       106.    Intervenor lacks sufficient information to admit or deny the allegations made in this

paragraph.

                                    CLAIMS FOR RELIEF

                                            COUNT I

       107.    Intervenor incorporates its prior responses.

       108.    The cited authority speaks for itself. The remaining allegations in this paragraph

are legal conclusions to which no response is required.

       109.    The cited authorities speak for themselves. The remaining allegations in this

paragraph are legal conclusions to which no response is required.

       110.    The allegations in the first two sentences of this paragraph are legal conclusions to

which no response is required. Intervenor denies the allegations in the last sentence of the

paragraph.

       111.    The allegations in the first two sentences of this paragraph are legal conclusions to

which no response is required. Intervenor denies that the President has “no authority” to “regulate

how the EAC maintains or makes determinations concerning the Federal Form.”

       112.    Deny.

       113.    Deny.

       114.    Deny.

       115.    Deny.

                                           COUNT II

       116.    Intervenor incorporates its prior responses.

       117.    The cited authority speaks for itself. The remaining allegations in this paragraph

are legal conclusions to which no response is required.




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       118.    The cited statutes speak for themselves. The remaining allegations in this paragraph

are legal conclusions to which no response is required.

       119.    Deny.

       120.    Deny.

       121.    Deny.

       122.    Deny.

       123.    Deny.

                                     PRAYER FOR RELIEF

       1.      Intervenor denies that Plaintiffs are entitled to the requested relief.

       2.      Intervenor denies that Plaintiffs are entitled to the requested relief.

       3.      Intervenor denies that Plaintiffs are entitled to the requested relief.

       4.      Intervenor denies that Plaintiffs are entitled to the requested relief.

                                  AFFIRMATIVE DEFENSES

         1. The complaint fails to state a claim upon which relief may be granted.

         2. Plaintiffs lack statutory standing to sue.

         3. Plaintiffs relief is foreclosed by the Purcell principle.




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 Respectfully submitted this 3rd day of June, 2025,


                                             /s/ Thomas R. McCarthy

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